      Case 1:18-cv-00157-SPW-TJC Document 27 Filed 08/28/19 Page 1 of 2



                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                           BILLINGS DIVISION


NATIVE ECOSYSTEMS COUNCIL,                      CV 18-157-BLG-SPW-TJC

                    Plaintiff,
                                                 ORDER
vs.                                                                           8/28/2019

JOHN J. MEHLHOFF, State Director,
the BUREAU OF LAND
MANAGEMENT, DEPARTMENT OF
THE INTERIOR; DAVID
BERNHARDT, Secretary of the
Interior; and CORNELIA HUDSON
Field Manager, BLM’s Dillion Field
Office,

                    Defendants.

      The parties have filed a joint motion to extend the deadlines of the summary

judgment briefing schedule. (Doc. 26.) Good cause appearing,

      IT IS HEREBY ORDERED that the Scheduling Order (Doc. 14) is modified

as follows:

Federal Defendants’ brief in support of
their combined cross-motion for summary
judgment and response to Plaintiff’s motion
for summary judgment, and their response
to Plaintiff’s Statement of Undisputed Facts:            September 23, 2019

Plaintiff’s combined brief in response
to Federal Defendants’ cross-motion for
summary judgment and reply in support
of their summary judgment motion, and
     Case 1:18-cv-00157-SPW-TJC Document 27 Filed 08/28/19 Page 2 of 2



reply in support of Plaintiff’s motion to
supplement the record and/or take judicial
notice (if necessary):                               October 25, 2019


Federal Defendants’ reply in support of their
cross-motion for summary judgment:                   November 28, 2019.


      IT IS ORDERED.

      DATED this 28th day of August, 2019.

                                      _______________________________
                                      TIMOTHY J. CAVAN
                                      United States Magistrate Judge
